           Case 5:17-cv-00003-J Document 141 Filed 01/03/20 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

ROOM 1210, U.S. COURTHOUSE
OKLAHOMA CITY, OKLAHOMA 73102

Date: January 3, 2020

ENTER ORDER:

The following cases are hereby TRANSFERRED to U.S. District Judge Bernard M. Jones.
Please note that, for future filings in these cases, the letters at the end of the case number should
now be "J" rather than an "PRW". This is important to ensure the prompt distribution of
pleadings to the proper judge.

 1.    CIV-17-00003-PRW – Craig PC Sales & Service, LLC et al. v. CDW Government,
       LLC et al.

 2.    CIV-17-00517-PRW – Southstar Exploration LLC et al. v. 7C Land & Minerals Co.
       et al.

 3.    CIV-17-00600-PRW – Emergency Services of Oklahoma PC et al. v. Aetna Health,
       Inc. et al.

 4.    CIV-17-00756-PRW – White Oak Global Advisors LLC v. Tommy W. Weder, Sr.

 5.    CIV-17-00879-PRW – Equal Employment Opportunity Commission et al. v.
       Horizontal Well Drillers, LLC

 6.    CIV-18-01225-PRW – Chieftain Royalty Company v. SM Energy Company

 7.    CIV-19-00252-PRW – Capital One NA v. Fenton Nissan, Inc.

 8.    CIV-19-00660-PRW – Mitchell Heath Barnett et al. v. Farmers Insurance Exchange
       et al.

 9.    CIV-19-00979-PRW – Alberta Rose Josephine Jones v. Shanda L. Adams et al.

 10. CIV-19-530-PRW – Christian X. Harris v. State of Oklahoma

By direction of Judge Patrick R. Wyrick, we have entered the above enter order.

                                                      CARMELITA REEDER SHINN,
                                                      CLERK OF COURT

                                                      By:    s/ Kathy Spaulding
                                                              Deputy Clerk
